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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-           Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                         MDL No. 3014
 LITIGATION

 This Document Relates to: All Actions
 Asserting Claims for Medical Monitoring


         NOTICE OF FILING OF DOCUMENTS IN FURTHER SUPPORT OF
           UNOPPOSED MOTION OF PROPOSED SETTLEMENT CLASS
          REPRESENTATIVES FOR PRELIMINARY APPROVAL OF CLASS
        SETTLEMENT AND RELEASE OF MEDICAL MONITORING CLAIMS

       During the June 18, 2024 hearing on the Motion for Preliminary Approval of Class

Settlement Agreement and Release of Medical Monitoring Claims and to Direct Notice to the

Proposed Settlement Class (ECF 2766), the Parties represented that they were making changes to

the Settlement Agreement and related documents to address questions and comments provided by

the Court and would provide the amended documents to the Court. See ECF 2850. Pursuant to that

representation, proposed Settlement Class Representatives, through Plaintiffs’ Co-Lead Counsel

and proposed Settlement Class Counsel, hereby file an Amended Settlement Agreement and

Release of Medical Monitoring Claims with attached Exhibit 1 (amended), Exhibit 2 (amended),

Exhibit 3 (amended), Exhibit 4 (amended), and Exhibit 4(a).

Dated: June 24, 2024                             Respectfully submitted,


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           Chair Settlement Committee / Proposed Settlement Class Counsel

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